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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL DIVISION

 

INDICTMENT
VIOLATIONS:

COUNT 1: 21 U.S.C. § 841(a)(1),
Distribution of Methamphetamine

UNITED STATES OF AMERICA, (Swena, | | and Spencer);
Plaintiff, COUNT 2: 18 U.S.C. § 922(g)(1), Felon
in Possession of Firearm and Ammunition
VS. (Swena);
STEVEN MACK SWENA, COUNT 3: 18 U.S.C. § 922(g)(1), Felon
, and in Possession of Firearm and Ammunition
CLINTON DEAN SPENCER (i:
Defendants. COUNT 4: 21 U.S.C. § 841(a)(1),
Distribution of Methamphetamine
(Swena,

Case: 2:20-cr-00348
Assigned To : Kimball, Dale A.
Assign. Date : 10/7/2020
Description:

 

 

The Grand Jury Charges:

COUNT I

21 U.S.C. § 841(a)(1)
(Distribution of Methamphetamine)

On or about December 19, 2019, in the District of Utah,
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STEVEN MACK SWENA,
and
CLINTON DEAN SPENCER,
defendants herein, did knowingly and intentionally distribute five (5) grams or more of
methamphetamine, a Schedule II Controlled Substance within the meaning of 21 U.S.C. §
812, and did aid and abet therein; all in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. §
2(a) and punishable pursuant to 21 U.S.C. § 841(b)(1)(B).

COUNT 2

18 U.S.C. § 922(g)C1)
(Felon in Possession of Firearm and Ammunition)

On or about December 19, 2019, in the District of Utah,
STEVEN MACK SWENA,
defendant herein, knowing he had previously been convicted of a crime punishable by a
term exceeding one year, knowingly possessed a firearm and ammunition, to wit: a
Ruger, Service-Six, .357 caliber revolver and ammunition, and a Smith & Wesson .45

caliber handgun, and the firearm and ammunition were in and affecting commerce; all in

violation of 18 U.S.C. § 922(g)(1).

COUNT 3

18 U.S.C. § 922(g)(1)
(Felon in Possession of Firearm and Ammunition)

On or about December 19, 2019, in the District of Utah,
Case 2:20-cr-00348-DAK Document 7-1 Filed 10/15/20 PagelD.34 Page 3 of 4

defendant herein, knowing he had previously been convicted of a crime punishable by a
term of imprisonment exceeding one year, knowingly possessed a firearm and ammunition,
to wit: a Ruger, Service-Six, .357 caliber revolver and ammunition, and a Smith & Wesson

.45 caliber handgun, and the firearm and ammunition were in and affecting commerce; all

in violation of 18 U.S.C. § 922(g)(1).

COUNT 4

21 ULS.C. § 841 (a)(1)
(Distribution of Methamphetamine)

On or about January 23, 2020, in the District of Utah,

STEVEN MACK SWENA and

defendants herein, did knowingly and intentionally distribute fifty (50) grams or more of
methamphetamine, a Schedule II Controlled Substance within the meaning of 21 U.S.C. §

812, and did aid and abet therein; all in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. §

2(a) and punishable pursuant to 21 U.S.C. § 841(b)(1)(A).

NOTICE OF INTENT TO SEEK FORFEITURE
Pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), upon conviction of any
offense in violation of 18 U.S.C. §§ 922, as set forth in this indictment, the defendants shall
forfeit to the United States of America any firearm or ammunition involved in or used in

the commission of the offenses, including, but not limited to:

 
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° a Ruger, Service-Six, .357 caliber revolver and ammunition, and

. a Smith & Wesson .45 caliber handgun.

A TRUE BILL:

 

FOREPERSON OF GRAND JURY

JOHN W. HUBER
United States Attorney

(AAy

JENNIFER El GULLY

MARK K> VINCENT
STEWART M. YOUNG
Assistant United States Attorneys

 
